                         Case 18-25361       Doc 17    Filed 02/22/19      Page 1 of 1

                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MARYLAND
                                       at Baltimore
                                In re:    Case No.: 18−25361 − TJC     Chapter: 7

Thomas T Benson and
Mary Jean Benson
Debtors

                                                   NOTICE


PLEASE TAKE NOTICE that a Reaffirmation Agreement hearing will be held

                       at Post Office Building, 129 East Main Street, Room 104, Salisbury, MD 21801

                       on 3/12/19 at 10:00 AM

to consider and act upon the following:

16 − Reaffirmation Agreement, and Declaration of Counsel, Between Debtor, Thomas T Benson and M&T Bank,
Filed by Thomas T Benson . (Attachments: # 1 Exhibit Reaffirmation Cover Sheet) (Smith, Denise) Modified on
2/21/2019 (Smith, Denise).


NOTICE TO MOVING PARTY

A service list or certificate of service regarding parties noticed by the court may be obtained through CM/ECF
or PACER. If you believe that a party entitled to notice is not listed, please provide notice to that party
forthwith and file an appropriate certification with the Clerk's office.

Dated: 2/22/19
                                                        Mark A. Neal, Clerk of Court
                                                        by Deputy Clerk, Rita Hester



Form ntcreaf
